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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


 FEDERAL TRADE COMMISSION,

                  Plaintiff,

             v.                                           Case No.: 4:23-CV-03560-KH

 U.S. ANESTHESIA PARTNERS, INC., et al.,

                  Defendants.


                   Joint Motion for Entry of Stipulated Discovery Protocols

       Plaintiff Federal Trade Commission (“FTC”) and Defendant U.S. Anesthesia Partners,

Inc. have agreed to mutually acceptable protocols governing depositions (Exhibit A) and expert

discovery (Exhibit B), as well as a Rule 502(d) order (Exhibit C). The parties respectfully

request that the Court enter the attached orders (Exhibits A-C) as stipulated.



Date: September 6, 2024                               Respectfully submitted,

 /s/ Timothy Kamal-Grayson                           /s/ Kenneth M. Fetterman
 Timothy Kamal-Grayson (Pro Hac Vice)                Kenneth M. Fetterman (Pro Hac Vice)
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 Commission
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                                                     Partners, Inc.




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this day, I caused the foregoing Joint Motion for Entry of

Stipulated Discovery Protocols and attached proposed orders to be served on all counsel of

record using the ECF system of the United States District Court for the Southern District of

Texas.


Dated: September 6, 2024
                                                   /s/ Timothy Kamal-Grayson




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